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CLEF€F€', U.\‘S. DIST. CT.
UNITED STA_|_ES OF AMER|CA’ W.D. U.=": TN, fw'l!_`:i'\-'?F"Hl$

Plaintiff,

VS.
CR. NO. 04-20466~5

DWAYNE BECTON,

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG F’ERIOD OF EXC|_UDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Nlonda Jul 25 2005 at 9:30 a.m., in Courtroom 1, 11th F|oor of the

 

Federa| Building, lV|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a eedy trial.

|T IS SO ORDERED this

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20466 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Pamela B. Hamrin

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Honorable J. Breen
US DISTRICT COURT

